 

Case 2:14-cv-02490-ROS Document 126 Filed 09/29/16 Pag _g{j)h&r) MLQU;EE

 

 

 

IN THE UNITED STATES DISTRICT COURT mm FIECJ`§WED ___ C>OPY'
FOR THE DISTRICT OF ARIZONA -
John Hurry, etal. SEP 2 9 2016
. . .. Ci.ER\(US ‘§;§ ‘. " '
Plamtlff(s)/Petitloner(s), CASE NO: CV-14-02490-PHX- OS Di§T;;;CTD<S;?;§§§§{;£;}HF
VS' ' ti\’ ___~ beauty
Financial Industry Regulatory Authority, InC., et al. Application of Attorney For Admission To Practice Pro Hac ’

Vice Pursuant to LRCiv 83.1(b)(2)
Defendant(s)/Respondent(s)

NOTICE: $35.00 APPLICATION FEE REQUIRED!

 

I, D'|an A’ Esper , hereby apply to the Court under LRCiv 83. l(b)(Z) for pro hac vice

P|aintiffs

admission to appear and practice in this action on behalf of

City and State of Principal Residence: Fontana’ Ca|lfom'a

Harder l\/|ire|| & Abrams LLP

 

 

 

 

 

 

 

 

 

 

Firm Name:
Address: 132 S. Rodeo Dr., Fourth Floor Suite:
City: Beverly Hi|ls State: CA Zip: 90212
Firm/Business Phone: 4 424 ) 203`1600
Firm FaX Phone: (424 ) 203-1601 E_mail Address: desper@hmatirm.com
I am admitted to practice before the following courts. (attach additional sheets if necessary)
TlTLE OF COURT DATE OF ADMISSION IN GOOD STANDING?
State Bar of California (al| Ca|ifornia State courts) ` 12/01/1995 -Yes No*
US District Court, Centrai District of Ca|itornia 12/01/1995 -Yes § No*
US Court of Appeals for Ninth Circuit 12/01/1995 -Yes i:l No*

* EXPlaini Dates of Admission are estimates

(An Original Certificate of Good Standing froma FEDERAL BAR in which an applicant has been admitted dated no more than 45 days
prior to submission of this application is required.)

I have concurrently, or within l year of this application, made pro hac vice applications to this Court in the following actions (attach
additional sheets if necessary):

Case Number , Title of Action Date Granted or Denied*

 

 

a Explaim No pro hac vice applications within the past year
ALL APPLICANTS ARE REQUIRED TO ANSWER THE FOLLOWING QUESTIONS.
If you answer YES to either of the following questions please explain all circumstances on a separateage. __
Are you currently the subject of a disciplinary investigation or proceeding by any Bar or Court? Yes No
Have you ever been disbarred from practice in any Court? Yes No
Ideclare under penalty of perjury that the foregoing is trueand correct; thatl am not a resident of, nor anI regularly employed, engaged in business, professional
or other activities in the State of Arimna; and that I am not currently suspended, disbarred or subject to disciplinary proceedings in any court. I certify that I

have read and will ascribe to the Standards for Professional Conduct, will comply with the Rules of Practice ofthe United States District Court forthe
District of Arizona (“Local Rubs”), and will subscribe to rece`

@ila\) )/Q>

Date l Signature of Applicant

Fee Receipt # 1
W \/l taint t

court notices as required by LRCiv 83.1(c).

C<Z

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(Rev. 04/12)

 

 

 

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United States District Court

Central District of California

CERTIFICATE OF
GGOD STANDING

 

I, KIRY K. GRAY, Clerk of this Court, certify that

Dilan-A. Esper , Bar NO. 178293

 

Was duly admitted to practice in this Court on lanllary 12th 1996

 

DA TE

and is active and in good Standing as a member of the Bar

of this Court.

Dated at Los Angeles, California

on September 27th, 2016

Date

 

KIRY K. GRAY
Clerk of Court

Andrea Kannike , Deputy Clerk

 

 

G-52 (10/15) CERTIFICATE OF GOOD STANDING

